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lN THE UN|TED STATES DlSTR|CT COURT
FOR THE WESTERN DlSTR|CT OF TENNESSEE
WESTERN DlVlS|ON

 

 

UN|TED STATES OF AMER|CA

 

P|aintiff

VS.
CR. NO. 04-20299-D

DONNlE JOHNSON

Defendant.

 

oRDER oN coNTiNuANcE AND sPEClFYiNG PERtoD oi= EXcLuDABLE DELAY
AND S_EIMQ

 

This cause came on for a report date on l\/lay 19, 2005. At that time, counsel forthe
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to Ju|y 5, 2005 with a rem
date of Thursdav. June 30. 2005. at 9:00 a.m., in Courtroom 3. 9th F|oor of the Federa|
Building, Memphis, TN.

The period from June 17, 2005 through July 15, 2005 is excludable under 18
U.S.C. § 31 61 (h)(B)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

lT lS SO ORDERED this £O day Of |Vlay, 2005.

MZM
s RNlcE B. DONALD

NITED STATES D|STR|CT JUDGE

 

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with Ru|e 55 and/or 32(b) FRCrP on

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Honorable Bernice Donald
US DISTRICT COURT

